Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 1 of 34

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

JOHN DOE
Plaintiff .
v. : CIVIL ACTION NO: 18-cv-2044
SAINT JOSEPH'S UNIVERSITY
And
JANE ROE
Defendants

 

BRIEF OF PLAINTIFF JOHN DOE IN OPPOSSITION TO THE SUMMARY
JUDGEMENT MOTION OF DEFENDANT JANE ROE

INTRODUCTION

This case arises from Jane Roe’s false report to SJU officials of her alleged violent
encounter With John Doe in the early morning hours of February 24, 2018 as a result of Which
SJU officials later found John Doe responsible for “sexual assault”. As alleged by Roe, the two
SJU students, John Doe and Jane Roe, met for the first time at a party late in the night of
February 23, 2018 Where they kissed and flirted before deciding to return to Doe’s dorm, in the
early morning hours of February 24th Where they kissed more, touching one another’s faces and
necks - all of Which Was, and Roe reported Was, consensual. The preceding facts are undisputed,
but much of the factual recitation set forth casually in Roe’s brief as “Uncontested Facts” are
disputed or simply wrong. Roe’s Summary Judgment Motion has multiple grounds, all of Which
Will be addressed, but is principally constructed and dependent upon the premise that Doe’s

defamation claim against her is groundless because What she reported to SJU officials Was true.

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 2 of 34

In support, Roe argues that paramount in the evidence that Roe’s claim was true (and hence not

defamatory) is that Doe has never denied it. Nothing can be further from the truth.

II.

STATEMENT OF UNDISPUTED AND DISPUTED FACTS
A. UNDISPUTED FACTS

Roe admits in her Answer (Exhibit 2) to the following paragraphs of the Complaint

(Exhibit 1).

4.

8.

lO.

ll.
l3.

16.
l7.
18.
l9.
20.
21.
22.

23.

24.
25.

27.

30.

Defendant, Jane Roe (“Roe”), is an adult individual who is and was at all times material
hereto a matriculated student at SJU and resides in Pennsylvania.

At all times material hereto, Roe resided in an SJU residential hall known as “Villiger.”
On the evening of Friday, February 23, 2018, Doe and several of his friends attended a
party in Philadelphia near the campus of LaSalle University.

At that party, Doe met Roe met for the first time,

Roe initially told Doe that she was not an SJU student, but later admitted that she actually
was enrolled at SJU.

Throughout their time together at the party, Roe continued to demonstrate romantic
interest in Doe by flirting with him, kissing him and giving him her cell phone number.
At some point, Doe and his friends decided to leave the party, and Roe decided to
accompany Doe and his friends back to SJU’s campus.

Doe and Roe walked outside to get some air, where Roe noticed a man selling cocaine.
Roe expressed an interest in buying cocaine and inquired about the price.

Concemed for her well-being, Doe discouraged Roe from purchasing the cocaine,
reminding her that she said she had been “sober” for some time and that taking cocaine
would destroy her sobriety.

At Doe’s urging, Roe decided not to purchase cocaine at that time, and left the party with
Doe and several of his friends in one of Doe’s friend’s car.

There is no suggestion that neither Doe nor Roe was intoxicated when they left the party
on LaSalle’s campus.

When the group arrived back on SJU’s campus, rather than returning to her own dorm,
Roe decided to accompany Doe to his residence hall, St. Mary’s.

Doe and Roe went to the kitchen in St. Mary’s, drank water and kissed some more.

Doe suggested that, because his roommates were asleep, he and Roe should go up to a
common room on the third floor of St. Mary’s. Roe agreed.

Roe told Doe that her friend was sick and that she needed to go to McShane, another
residential hall on campus, to help her friend.

Doe escorted Roe to the front door of St. Mary’s and, when he opened the door, he saw a
woman who he assumed to be Roe’s friend waiting outside. Roe kissed Doe goodbye, in
front of her friend, then Doe watched her go over to her friend.

31.

33.
34.

35.

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 3 of 34

Doe closed the door and texted Roe to say “Im goin to bed but u guys need anything my
phone will b on I hope ur friends ok.” A true and correct copy of the complete text
exchange between Doe and Roe is attached hereto as Exhibit 3. Roe responded to Doe’s
text, saying “Thanks man.” See Exhibit 3. Doe then went to bed.

At no time did Roe ask Doe to stop kissing or touching her in any way.

On Saturday, February 24, 2018, Doe texted Roe, “Hey.” Roe did not respond to that
text. See Exhibit 3.

Doe and Roe have had no further communication with one another via text or otherwise.
See Roe’s Answer to Complaint Exhibit 2.

B. DISPUTED FACTS

Roe’s brief in support of her Motion for Summary Judgment avoids any discussion of the

defamatory statements she made about Doe when she reported the encounter with Doe to her

friends (all of whom were SJU students) and then SJU officials. Roe’s brief: “Initially, it is noted

that in reporting the incident to the University Defendant Roe did not describe the incident as or

indicated it to be a “sexual assault.” Rather, she has only described to university ojj‘i`cials the

accurate facts of what occurred, and it was SJU that made the determination that the incident

was considered to be a “sexual assault.” RBISJp (emphasis added). Roe glosses over her actual

statements she made about Doe, first to her friends and then on February 26, to SJU officials.

Roe’s statements about Doe given to two SJU officials, referred to in her brief as “accurate facts”

were the following:

According to Bean, Roe told her
Exhibit 21, P156 L23-P157 Ll6
So you went into your office and what happened then?

So we shut the door. I asked her what was going on or how she was doing or something
to that effect. She kind of pulled down her shirt and showed me some bruising. I said,
"What's that? Where did that come from?" or something to that effect. She said that over
the weekend she had met a guy at a party. She didn't know him, but she thought he was
really nice. They went back to St. Mary's, which is a residence hall, and were making out
and then he started to choke her and that she was really scared and that when he left the
room to get water or a drink or something like that she called -- she used her phone to call
her friend to get out of the situation.

?>/.O?>D

QP>'QP>@

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 4 of 34

Exhibit 21 , Pl67 L8-9

Did she use the word choke her?

Yes.

Roe repeated the defamatory comments to Perry in Bean’s presence and named Doe as
the person who choked her. Exhibit 21, P185 L3-24

What details were shared?

The same that were shared with me. It was reiterated, the details of the night in question.
I need to know, what did she say in front of you?

The same thing that I have already shared with you. There was no new information that I
heard. Everything that she shared with me she had then shared with Mary-Elaine.

Do you say anything first?

I did. When Mary-Elaine's door opened I said, "Hi. We are here. l am here with a student.
We are here for a Title IX issue." l was broad. She said, "Okay. Come on in." ThenI
think Mary-Elaine just started introducing herself as a Title IX coordinator and what her
role was. She got a notebook out and, you know, asked questions, went through the night,
the experience, the situation, and that went back and forth.

And she was taking notes as to what Ms. Roe had to say?

Yes, she was.

These were handwritten notes that you could determine?

Yes.

Did you offer any information to Dr. Perry while that conversation is going on between
Dr. Perry and Ms. Roe?

Well, at one point in the conversation Mary-Elaine asked if she wanted to give a name,

therefore, and explained what that meant. She said, "It could just be this and this is a
report. If you share the name, then we can move further with an investigation."

So share the name of the person that she is complaining about?

Exactly. As to that point it had not been shared. So the student agreed to that. After that --
your question was what did I contribute to the conversation. I was silent almost the whole

4

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 5 of 34

time, other than after that, when I knew it was an actual report and investigation was

going to happen, I asked the student if she had taken any pictures of the bruises and she

said no and I suggested that she did.

The above facts are undisputed - Bean’s testimony is unchallenged lt must be noted that
what Roe reported as quoted, supra, is false. This will be proven based upon her own
photographs, deposition testimony, and expert testimony. However, that will be addressed in
detail later and the proof of which is not necessary to establish the moving party is not entitled to
the relief south here. But by avoiding the record evidence of what Roe said about Doe on
February 26, she can advance the false argument that Doe has never denied it.

“Doe has never outright denied these facts as Roe has stated them. In
particular, he has not definitively denied squeezing Roe’s neck. In the
course of SJU’s investigation, Doe told investigator Elizabeth Malloy that
he merely “didn’t remember doing that”, but he has never denied that it
occurred.”

As will be explained below, that assertion repeated by Roe throughout her brief is simply
not true. As a legal argument in support of Roe’s motion it is misleading, whether it is
deliberately misleading or simply uninformed is not clear but what is clear is that it is wrong.

Roe principally relies on Doe’s response to Malloy’s incomplete and misleading
description of Roe’s allegations against him, to support of her position that Doe has never denied
it occurred. As noted above and quoted below, Doe has denied it repeatedly. But it is critical to
resurrect the backdrop of Malloy’s interview with Doe on March 9, 2018, to fully understand
Doe’s reticence to say anything disparaging about Roe in his meeting with Malloy when for the
first time he hears the factual allegations of Roe’s charges albeit whitewashed by Malloy and
incomplete. Doe knew nothing about the specific claim or even type of sexual misconduct that

had been asserted against him (this is undisputed). Before the March 9‘h, meeting he had been

told only that an SMP complaint had been filed against him, the name of the person, the date,

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 6 of 34

and that if true it violated one of the six prohibited types of sexual misconduct in SJU‘s 50-page
SMP. As to the actual factual allegations, Forte told him only that it did not involve sex but that
he had been “rough” with Roe After being summoned to a PIM meeting conducted by Forte on
March 5"1, he was given no further information about the type of sexual misconduct or the actual
allegations. At the meeting he was given a long check list with no additional information about
the allegations or the specific charges. Virtually insuring he would remain in the dark about
Roe’s actual allegations, before Doe’s Pre-lnvestigation Meeting (“PIM”), Forte notified him
that a contact restriction had been put in place between him and Roe. A contact restriction
included both direct and indirect forms of communication T hese contact restrictions include but
are not limited to.' personal interaction, contact with personal property, electronic
correspondence (computer, telephone, text messages, e-mail, Facebook, etc.), contact initiated
by any third parties on your behalf or at your request, and all forms of retaliation. These
restrictions apply both on and off campus. See SJU 644, Exhibit 8.

What Forte did tell him was that it might be helpful for him to prepare a note about what
he remembered of the evening in advance of meeting with the investigator. Still perplexed Doe,
with the little information he had about the charges (it was not anything sexual but he was a little
rough) and reasonably but perhaps naively assuming Roe was a rational individual who would
not cavalierly make false charges against another student, he went over every detail of their
encounter he could remember and wrote in his note:

Doe details in the above note of his recollection of his 15 minutes with Roe before
meeting with the investigator in which he apologizes for a “playful push toward the chair”,
speculates whether he was “holding her in some way that felt forceful or aggressive” or maybe

upset her when he had kissed her on the stairs, delaying her from meeting her friend. lt is

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 7 of 34

abundantly clear that Doe has absolutely no idea what Roe’s actual charges are against him.

When he meets with Malloy on March 9, Malloy does little change that. lnstead, Malloy

discloses to Doe an incomplete and whitewashed version what Roe alleged against him. When

Malloy met with Doe, she had the Complaint prepared by Perry and Roe’s “photos’ neither of

which she shared with Doe, lnstead, she thought it would be best for her investigation to

disclose to Doe only the following:

Schwabenland:

And you told him that the claim was that -- the claim by Ms. Roe was that

he squeezed her neck, right?

Malloy:

Schwabenland:

Malloy:

Engle:

Schwabenland:

Malloy:

Schwabenland:

Malloy:

Schwabenland:

Yes.

Did you tell him that Ms. Roe was claiming that she felt he wanted to
harm her?

l don't think so.

Objection.

Did you tell him that Ms. Roe was claiming he choked her to the extent

that she couldn't breathe?

I told him that she said -- that she said that it hurt and that she was

scared and that's why she texted her friend. l don't think l said “couldn't
breathe."

Okay. So you didn't mention anything that she was claiming he choked her
or that she couldn't breathe because of that?

l told you what l told him.

And it doesn't include those two statements?

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 8 of 34

Malloy: l didn't use the word "choked."

Schwabenland: Did you use the words that because of whatever she complained about she

could not breathe?

Malloy: No.

Exhibit l6, Malloy, P265, L4, P266, L7

Q.

@?>D?>

P>

Q.>@?>

And you told him that the claim was that -- the claim by Ms. Roe was that he squeezed
her neck, right?

Yes.
Did you tell him that Ms. Roe was claiming that she felt he wanted to harm her?
l don't think so.

Did you tell him that Ms. Roe was claiming he choked her to the extent that she couldn't
breathe?

l told him that she said -- that she said that it hurt and that she was scared and that's why
she texted her friend. l don't think l said "couldn't breathe."

Okay. So you didn't mention anything that she was claiming he choked her or that she
couldn't breathe because of that?

l told you what l told him.
Okay. And it doesn't include those two statements?
l didn't use the word "choked."

Okay. Did you use the words that because of whatever she complained about she could
not breathe?

No.
Did he admit to squeezing her neck?
He said he didn't remember and didn't think that he did it when asked specifically.

Exhibit l6, Malloy Pl99 L5-9

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 9 of 34

The above testimony from Malloy is what Roe is relying upon to argue that Doe’s has
never actually denied Roe’s claim. Except Doe, as quoted above, did deny it. The exchange
reveals quite clearly that Doe does deny it, and at the same time, is hesitant to say anything
negative about Roe. Doe’s reticence to say anything disparaging about Roe was understandable
and directly sown by Malloy bizarre interview tactics which included deliberately not telling the
accused the material facts of the allegations Roe had leveled against him. ln Malloy’s’
whitewashed version of Roe’s complaint, as Malloy conveyed it to Doe, their kissing and
touching was all consensual, but while kissing her, he squeezed her neck, it caused her pain and
she was scared. Making the accusation even more confusing, Doe has no recollection of Roe
asking him to stop touching or kissing her, because she never did. (Roe admits in her answer to
the Complaint that she never asked him to stop kissing or touch her). As described by Malloy to
Doe` Doe’s alleged misconduct was not knowing he squeezed Roe too tight while they were
consensualh,r kissing and touching each other which Roe admittedly did not tell him - this is not
misconduct` much less sexual assault Doe did not learn of the actual allegations against him
until he had already been found responsible and punished. Malloy confirms that she did not tell
Doe what Roe actually said about Doe, She did not tell Doe that Roe said that Doe choked her,
that he did it so hard she could not breathe or speak, that it left bruises, and that she believed he
did it because he wanted to hurt her. When he finally did learn of what Roe really alleged

against him, and her alleged evidence, there was no confusion or hesitancy, he stated:

DEPOSITION OF DOE:
Q: Can you explain how these bruises got on her neck?
A: No.
Q: You are aware, are you not, that she says these bruises came from your rough

treatment of her?

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 10 of 34

Yes, l’m aware she says that,

As you sit here today, can you remember whether your actions could have been
involved in this?

My actions did not cause this. l don’t see how that’s possible.
It’s not possible?

l don’t see how it would be possible.

Exhibit 21, JD Pl l-12

Q:

So there’s a point in time in which Liz Malloy says to you in effect did you
squeeze her neck. At that point you understood, didn’t you, that she was saying
you squeezed her neck?

l understood that she was saying l squeezed her neck,

Yeah, okay. Did you say to her anything - or give Liz Malloy any indication that,
whoa, we need to reset here and l need to think about that because l never
understood that that’s what l was charged with?

No l didn’t.
Why not?

Because I didn’t - l mean, l was definitely surprised by that, but l - she was - she
said to me, she’s like, so you had her hands on her neck? And l was like l think
we did and we were kissing. And she’s like, well, did you squeeze her neck? And
l was like no. She was like, well, she’s saying you squeezed her neck and it scared
her. And l was like well l would never do anything like that. You know, l would
never want to do anything like that. l would have been horrified that anyone
would even be - like think l did something like that, l would have been horrified
that anyone would even been - like think l did something like that.

Exhibit 21, JD P108-09

THE BRUISES and PHOTOGRAPHS

10

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 11 of 34

Roe spent the following day (Saturday 2/24) with her three friends (RS her roommate,
NF and JG) ordered takeout food, had a “pregame” at Roe’s room drinking alcoholic beverages
and then went to a party at Sigma Pi, where according to Roe’s testimony, she drank “a lot”.
Roe testified that while at Sigma Pi, she herself fell down the stairs badly enough that she needed
an x-ray later that week. By 3:00 a.m., Roe’s friend NF was so intoxicated that Roe, RS and JG
took her to Lankenau Hospital. See Exhibit l4,p 69.76. Roe’s fall at Sigma Pi, the night after
she was allegedly choked by Doe, and the fact that she required medical treatment for it, had not
been disclosed to SJU when she reported her allegations against Doe, or to Malloy in her
subsequent investigation, or in her Answers to lnterrogatories, or in her the first part of her
deposition (July 6"‘), this information came out on September 6, 2018. Within hours of Roe’s

fall down the stairs at Sigma Pi, while still at Lankenau Hospital, the following text exchange

ensued:
Jenny G: R is freaking out
Like panic attack in the bathroom
She won’t let me help her
Jenny G: This brought up her fear of you choking her on Halloween

ldk what to do
She’s so upset and locked herself in the bathroom
She said that she was so afraid of you and that you had a choice and you
chose to choke her and that’s why she pushed you down the stairs because
she was afraid of you
Exhibit 14 (p36-37). Sunday evening, two days after her encounter with Doe and the day
after her fall down the stairs at Sigma Pi, Roe’s roommate, the same one Roe choked on
Halloween, the same one who pushed Roe down the stairs, pointed out to Roe there were bruises
on her neck.

Monday aftemoon, February 26, 2018, Roe told her story of Doe sitting on top of her

while they were kissing and then choking her so severely she could not breath or speak, first to

11

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 12 of 34

Bean to whom she also showed her bruises and again to SJU’s Title lX Officer, Mary Elaine
Perry. But she omitted the events of Saturday night, the part about the heavy drinking, and trip
to the ER, quarrel with her friend, accusations that she choked her roommate, getting buzzed and
falling down the steps at Sigma Pi, and her injuries for which she later sought medical treatment.
When Bean asked Roe if she had photos of the bruises, Roe said no. But Roe did have photos of
her neck the day after she was with Doe. She failed to mention she had such photos to Bean,
Perry or Malloy, and not surprisingly conveniently failed to mention they did not show any
bruises,
Attached is the supplemental expert report of Robert Sing D.O., who opined:

It is apparent that upon reviewing the color photographs R1-3, and in
particular photograph Rl, there is no evidence of bruising, redness, irritation,
abrasion on her neck - nothing. T hese photographs were taken, according to
Roe, approximately 19-20 hours after the choking incident in question with
John Doe. To a reasonable degree of medical certainty, the bruises would have
been present within hours of the inciting traumatic incident Jane Roe testified
that no one, including a roommate or anyone else that day, saw the anterior neck
bruises. ln looking at photographs Rl - 3, the low neckline of her halter top with
her hair being pushed back clearly exposes and displays the antero-lateral parts of
her neck, not only to her roommate also in the pictures, but also to herself when
She was dressing/fixing herself in front of her mirror in preparation for the
pictures.

Jane Roe testified in her deposition (part ll) that she had sustained a fall down
slippery steps at a Sigma Pi fraternity party while she was admittedly “buzzed”,
during the night of 2/24/201 8 into the early morning hours of 2/25/2018. (During
that evening, one of her roommates was taken to the hospital for “alcohol
poisoning” while at the Sigma Pi party.) lane Roe also testified that she presented
to an undisclosed urgent care center approximately two days later on 2/27/2018
where she was told she had a “bone bruise” to the wrist.

After review of these photographs and taking into consideration her deposition
transcripts with emphasis on the most recent 9/7/2018 testimony, the bruises on
her neck seen on photographs R4-8 were (1) not caused by any aggressive
manner or choking maneuver by John Doe in the early morning hours of
2/24/2018 and (2) that something else happened to Roe after the Rl photo and
before the R4-8 photos. T here are absolutely no bruises on her neck on
photographs taken approximately 20 hours after the incident The fact that no

12

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 13 of 34

one saw the neck bruises until after her fall down the steps at the Sigma Pi party

when she was “buzzed”, even with full anterior neck visual exposure in the Rl - 3

photographs, and the fact that even she did not see the anterior neck bruising until

after the Sigma Pi fall down steps incident, indicates that the trauma significant

enough to cause the bruising about her anterior neck occurred during or after the

Sigma Pi party.

EXHlBlT 22.

But Bean and Perry accepted Roe’s story without question, decided that this was sexual
assault, and that it should be “investigated” under SJU’s Sexual Misconduct Policy (“SMP”).
Perry immediately drafted an email to campus security, omitting any information favorable to
Doe, presenting Roe’s claims as fact. Shortly thereafter, before the “investigation” had even
begun, the head of campus security send an email to an SJU database, Perry and Cary Anderson,
Vice President and Associate Provost at SJU (and possibly others), stating, without equivocation
that Doe had sexually assaulted Roe on the night in question.

III. ARGUMENT

THE FACTS FAIL TO SUPPORT ANY BASIS FOR SUMMARY JUDGMENT
AND THEREFORE MUST BE DENIED.

A. LEGAL STANDARD FOR SUMMARY JUDGMENT

Summary judgment may only be granted where the moving party shows that there is no
genuine dispute of any material fact, and that judgment as a matter of law is warranted. Fed. R.
Civ. P. 56(a). The burden on a motion for summary judgment is initially on the moving party to
demonstrate that the evidence contained in the record does not create a genuine issue of material
fact. Conoshenti v. Pub. Serv. Elec. & Gas Co., 364 F.3d 135, 140 (3d Cir. 2004); Aman v. Cort
Furniture Rental Corp., 85 F.3d 1074, 1080 (3d Cir. 1996). A dispute is "genuine" if the
evidence is such that a reasonable trier of fact could render a finding in favor of the nonmoving

party. McGreevy v. Stroup, 413 F.3d 359, 363 (3d Cir. 2005).

13

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 14 of 34

Where the nonmoving party will bear the burden of proof at trial, the moving party may
meet its burden by showing that the admissible evidence contained in the record would be
insufficient to carry the nonmoving party's burden of proof or that there is an absence of
evidence to support the nonmoving party's case. Celotex Corp., 477 U.S. at 322, 325; Marten v.
Godwin, 499 F.3d 290, 295 (3d Cir. 2007). In evaluating the evidence, the court must interpret
the facts in the light most favorable to the nonmoving party, drawing all reasonable inferences in
his or her favor. [*6] Watson v. Abington Twp., 478 F.3d 144, 147 (3d Cir. 2007).

lf the movant meets its burden, the burden shifts to the nonmoving party to "set forth
specific facts showing that there is a genuine issue for trial" and to present sufficient evidence
demonstrating that there is indeed a genuine and material factual dispute for a jury to decide.
Fed. R. Civ. P. 56(e); see Anderson v. Liberty Lobby, lnc., 477 U.S. 242, 247-48, 106 S. Ct.
2505, 91 L. Ed. 2d 202 (1986); Celotex, 477 U.S. at 323-25. The nonmoving party can meet this
burden by the use of affidavits, depositions, admissions or answers to interrogatories showing
that there is a genuine issue of material fact for trial. Celotex, 477 U.S. at 324. While a
nonmoving party may not rely on mere allegations in a complaint to create a genuine factual
dispute at the summary-judgment stage, where, as here, the complaint is verified, the court treats
specific, factual allegations in the complaint that are based on personal knowledge as if they
were made in an affidavit or declaration. See Parkell v. Danberg, 833 F.3d 313, 320 n.2 (3d Cir.
2016) ("Because [statements in verified complaint and other court filings] were signed under
penalty of perjury in accordance with 28 U.S.C. § 1746, we consider them as equivalent to
statements in an affidavit."); Reese v. Sparks, 760 F.2d 64, 67 (3d Cir. 1985) (treating verified
complaint as an affidavit in opposition to a motion for summary judgment); Boomer v. Lewis,

No. 3:06-CV-0850, 2009 U.S. Dist. LEXlS 82679, 2009 WL 2900778, at * 14 (M.D. Pa. Sept. 9,

14

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 15 of 34

2009) ("A verified complaint may be treated as an affidavit in support of or in opposition to a
motion for summary judgment if the allegations are specific and based on personal knowledge."),
affd, Boomer v. Lewis, 541 F. App'x 186, 193 (3d Cir. 2013).

The summary judgment inquiry asks whether there is a need for trial_"whether, in other
words, there are any genuine factual issues that properly can be resolved only by a finder of fact
because they may reasonably be resolved in favor of either party." Liberty Lobby, 477 U.S. at
250. ln ruling on a motion for summary judgment, the court's function is not to weigh the
evidence, make credibility determinations or to determine the truth of the matter, but only to
determine whether the evidence of record is such that a reasonable jury could return a verdict for
the nonmoving party. Reeves v. Sanderson Plumbing Prods., lnc., 530 U.S. 133, 150-51, 120 S.
Ct. 2097, 147 L. Ed. 2d 105 (2000) (citing decisions); Liberty Lobby, 477 U.S. at 248-49; 142
F.3d 63 9, 643 n.3 (3d Cir. 1998). A dispute over a material fact_that is, a fact that would affect
the outcome of the suit under the governing substantive law_will precludes the entry of
summary judgment. Liberty Lobby, 477 U.S. at 248.

A defendant who moves for summary judgment is not required to refute every essential
[*8] element of the plaintiffs claim; rather, the defendant must only point out the absence or
insufficiency of plaintiffs evidence offered in support of one or more those elements. Celotex,
477 U.S. at 322-23. lf the evidence the non-movant produces is "merely colorable, or is not
significantly probative," the moving party is entitled to judgment as a matter of law. Liberty
Lobby, 477 U.S. at 249. The nonmoving party must "do more than simply show that there is
some metaphysical doubt as to the material facts." Matsushita Elec. lndus. Co. v. Zenith Radio
Corp., 475 U.S. 574, 586, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986). To survive summary

judgment, the nonmoving party must "make a showing sufficient to establish the existence of

15

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 16 of 34

[every challenged] element essential to that party's case, and on which that party will bear the
burden of proof at trial." Celotex, 477 U.S. at 322. Furthermore, "[w]hen opposing summary
judgment, the non-movant may not rest upon mere allegations, but rather must 'identify those
facts of record which would contradict the facts identified by the movant.'" Corliss v. Varner,
247 F. App'x 353, 354 (3d Cir.2007) (quoting Port Auth. of N.Y. and N.J. v. Affiliated FM lns.
Co., 311 F.3d 226, 233 (3d Cir.2002)). But the Court must still view the facts in the light most
favorable to Doe, Watson, 478 F.3d at 147 and as such any conflict in the testimonial evidence
must be resolved in his favor. Thompson v. Wagner, 631 F.Supp.2d 664, 678 (W.D.Pa. 2008).
B. THE FACTS SUPPORT A CLAIM OF DEFAMATION AGAINST ROE
1. DEFAMATORY STATEMENTS OF ROE
ln his Complaint Doe alleged:
391. Roe’s defamatory and false communications included, without limitation, the
following:
(a) On February 25, 2018, Roe told a friend who had noticed a mark on her neck that
Doe had intentionally made that mark, that he had hurt her, sat on top of her and
intentionally squeezed her neck and frightened her;
(b) ln so doing, Roe induced her friend to conclude that Doe had committed a sexual
assault against Roe;
(c) Thereafter, Roe reported Doe’s alleged conduct to Perry, who determined that it
was, in fact, an allegation of “Sexual Assault” against Doe;
(d) Roe allowed and/or encouraged Perry to believe that Doe had committed sexual

assault against her;

16

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 17 of 34

(e) Thereafter, Roe told Malloy, who SJU had retained to investigate Roe’s claims of
sexual assault, that Doe sat on top of Roe and intentionally squeezed her neck,
tried to choke her and intentionally frightened her;

(f) Roe sent a letter to the appeal panel stating that Doe had committed sexual assault

against her by squeezing her neck and frightening her; and

Plaintiff Complaint (Exhibit “A”) paragraph 391

ln a defamation action, a plaintiff need not plead the precise defamatory statements,

the exact words need not be stated, the complaint must only specify the substance of the spoken

words; the purport of the spoken words is necessary." Itri v. Lewis, 281 Pa. Super. 521, 422 A.2d

591, 592-93 (Pa. Super. Ct. 1980). This requirement allows the court to determine "whether

particular words are capable of a defamatory construction." Id. at 593. The deposition testimony

of record cited below squarely supports the allegations in the Complaint and includes at least 10

defamatory statements

]_

.C

P>

?> 43

Roe to RS 2/24/18, (JRP191, Line 24 - P192 L8)
Did you talk at all with R. . .?

Yes, l told her what happened as soon as l got back.
And what did you tell her?

l told her everything was fine one minute and the next thing l know his hand is
around my neck and he’s choking me and l couldn’t breathe and it was the scariest
moment of my life.

Roe to RS 2/25/ 18 (P206, Line 23 - P207, Line 10)

On Sunday l had my hair in a bun and Rowan and l had gone to CVS, l don’t know what
for, and when we were in the Uber - or not the Uber, the Saint Joe shuttle back she was
like, “What the hell is on your neck?” And l was like, “What are you talking about”

17

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 18 of 34

What’s on my neck?” She’s like, “There’s bruises all over.” l was like, “Are you
kidding me, like What?”

And so when l got back to my room and looked and l was like of, my God, there are
bruises on my neck.

Roe to JG 2/26 - P209, Line 3-Line 17 (Jenny)

ln the shuttle bus going back from the CVS, what did you do after that, after Rowan
called your attention‘?

l talked to my friend Jenny about it, because l was like, “Oh, my God, dude, this
happened on Friday night. Like l’m sorry l didn’t tell you, but now like there’s bruises
on my neck and l don’t know what to do.”

And what did Jenny suggest?

She suggested - what did she suggest? l don’t think she suggested anything. l think she
was just kind of shocked and was like, “if you need anything l’m here.

Roe to Bean 2/27/ 18 P211, Line 1-9 (Bean)
And so tell me what happens after you went to class. Did you go to work?

Yes, l go to work and Katie was like, “How was your weekend?” and l said, “Well, this
happened”, and l told her what happened. and then she was like, “l’m a mandated
reporter, we have to report his.” And so then we went over to Ms. Perry’s office and
reported it.

According to Bean, Roe told her he tried to choke her (Exhibit 18)P156L23-P157L16
P167L8-9

So you went into your office and what happened then?

So we shut the door. l asked her what was going on or how she Was doing or something
to that effect. She kind of pulled down her shirt and showed me some bruising. l said,
"What's that? Where did that come from?" or something to that effect. She said that over
the weekend she had met a guy at a party. She didn't know him, but she thought he Was
really nice. They went back to St. Mary's, which is a residence hall, and were making out
and then he started to choke her and that she was really scared and that when he left the
room to get water or a drink or something like that she called -- she used her phone to call
her friend to get out of the situation. That's when l told her that l am a

Did she use the word choke her?

18

D?>@.>@

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 19 of 34

Yes.

And named Doe as the person who choked her
Pl 78-179

Yes.
Do you say anything first?

l did. When Mary-Elaine's door opened l said, "Hi. We are here. l am here with a student.
We are here for a Title lX issue." l was broad. She said, "Okay. Come on in." Then l
think Mary-Elaine just started introducing herself as a Title IX coordinator and what her
role was. She got a notebook out and, you know, asked questions, went through the night,
the experience, the situation, and that went back and forth.

And she was taking notes as to what Ms. Roe had to say?
Yes, she was.

These were handwritten notes that you could determine?
Yes.

Did you offer any information to Dr. Perry while that conversation is going on between
Dr. Perry and Ms. Roe?

Well, at one point in the conversation Mary-Elaine asked if she wanted to give a name,
therefore, and explained what that meant. She said, "lt could just be this and this is a
report. lf you share the name, then we can move further with an investigation."

So share the name of the person that she is complaining about?

Exactly. As to that point it had not been shared. So the student agreed to that, After that --
your question was what did l contribute to the conversation l was silent almost the whole
time, other than after that, when l knew it was an actual report and investigation was
going to happen, l asked the student if she had taken any pictures of the bruises and she
said no and l suggested that she did.

And were these pictures taken where, in the office?

No. l believe they were taken -- well, l didn't witness any being taken. She didn't do it
there or in that moment.

2/27/ 18 Roe to Perry (P211, Line 12-20)

Now, did you know Mrs., Perry?

19

63

P>

.3> 63

Case 2:18-cV-O2O44-PD Document 61-1 Filed 10/09/18 Page 20 of 34

l met her once at orientation.
Now, what did you tell Ms. Perry?
l told her that l went home with a guy on Friday night and like everything seemed fine at

first, but then like the next thing l knew his hand was around my neck and l couldn’t
breathe and now there’s like bruises on my neck, and l don’t know what to do about it.

P224, Line 22-P225, Line 23 (continued from 211)

Your memory is much more important than mine.

Like whatever day it happened, l told her like l went to a party at LaSalle with my friends
and everything was fine. And that l actually met John Doe because l had run into him
twice before, because my friends and l were hold hands and we were all trying to stay
together, and l just pumped into him. Then the second time l stopped and l was like,
Hey, l am so sorry for running into you twice already. And he was like, that’s totally
fine, don’t worry about it. Then we had a conversation and then we ended up leaving
together.

We went back to Saint Mary’s.

Like everything was fine at first. We got some water in the kitchen. Then it got weird
because we went up to this room on the third floor, it was like mad tiny and it Was just

kind of creepy. And then like a few minutes after we got up there is when he started
choking me.

Did you explain all of this to Dr. Perry?

Yes.

P232, Line 19 _ P233, Line 22 (Perry) (continued from 224) (sexually assaulted)
The question was: Did you tell Dr. Perry that you had been sexually assaulted?

l told her what happened. l don’t believe l said this was sexual assault,

Okay. Did you ever tell Dr. Perry that you were sexually assaulted by John Doe?
l don’t remember.

P238, Line 15 ~ P239, Line 2 (continued from p192 Rowan)

What did you do whenever you got back to your dorm? What did you do?

20

.O?>

?>

?> .C

'.O

?>

?> 63

Case 2:18-cV-O2O44-PD Document 61-1 Filed 10/09/18 Page 21 of 34

l told my roommate what happened.
Who is the roommate?

Rowan Sullivan.
What did you tell Rowan Sullivan?

l told her that we were making out and one minute everything was fine, then the next he
had his hands around my throat and was choking me and I didn’t know what happened,

Roe repeated the defamatory comments to Perry in Bean’s presence
Exhibit 18 (Pl 85L3-24).

P242, Line 13-20 (Jenny and Nuria)

Did you tell anybody else after you told Rowan?

l told my friend Jenny and Nuria the next day.

Okay. So Jenny and Nuria, you told them the next day, How did you tell them?
ln person.

P261-2, Line 11 - P262, Line 1 (choking _ to Nuria)

Do you know if you did send any text to Nuria about what happened in John Doe’s
room?

l’m assuming you did because you asked the question.

Do you know if you did?

You wrote: “Yeah, l’m with Rowan now. He just kept choking me and shit, but l don’t
trust him so l didn’t like it.”

Does that sound familiar?

it seems vaguely familiar from when l was pulling them.

now, “He just kept choking me and shit”, what do you mean by that?

He just kept choking me.

21

Case 2:18-cV-O2O44-PD Document 61-1 Filed 10/09/18 Page 22 of 34

8 - Roe stated in her Appeal Reply, Exhibit 10, SJU 239, Line 1 :”the next thing he had his
hands around my throat and ...”

9 - P290, other people/sexual assault

Q. Okay. ln this document did you allege you were sexually assaulted by John Doe?

A. Yes.
(Dep JR Exhibit 13).

2. DEFAMATION LAW OF PENNSYLVANIA

"Defamation, of which libel, slander, and invasion of privacy are methods, is the tort of
detracting from a person's reputation, or injuring a person's character, fame, or reputation, by
false and malicious statements." Joseph v. Scranton Times L.P., 2008 PA Super 217, 959 A.2d
322, 334 (Pa. Super. Ct. 2008) (citing Zartman v. Lehigh County Humane Soc'y, 333 Pa. Super.
245, 482 A.2d 266, 268 (Pa. Super. Ct. 1984)). Under the common law, malice was essential to
every action for defamation. But under present law, malice is not an essential element of the tort
of defamation. The elements of malice and intent need only be proven in cases involving a public
figure plaintiff. Melvin v. Doe, 575 Pa. 264, 836 A.2d 42, 2003 Pa. LEXlS 2162, 32 Media L.
Rep. 1599 Melvin, 575 Pa. at 271, citing New York Times, 376 U.S. at 270-271.

The elements of Pennsylvania defamation law are defined by statute. ln order to

successfully establish a claim for defamation a plaintiff has the burden of proving:

(1) The defamatory character of the communication

(2) lts publication by the defendant

(3) lts application to the plaintiff.

(4) The understanding by the recipient of its defamatory meaning.

(5) The understanding by the recipient of it as intended to be applied to the plaintiff

22

Case 2:18-cV-O2O44-PD Document 61-1 Filed 10/09/18 Page 23 of 34

(6) Special harm resulting to the plaintiff from its publication

(7) Abuse of a conditionally privileged occasion
42 Pa. C.S. § 8343(a)

Once a plaintiff establishes these elements, the defendant has the burden of proving the
following, when relevant to the claim:

(1) The truth of the defamatory communication

(2) The privileged character of the occasion on which it was published

(3) The character of the subject matter of defamatory comment as of public concem.
ld. §8343 (b)

A statement is deemed to be defamatory "if it tends to blacken a person's reputation or
expose him to public hatred, contempt, or ridicule, or injure him in his business or profession."
Joseph, 959 A.2d at 334 (citing MacElree v. Phila. Newspapers, Inc., 544 Pa. 117, 674 A.2d
1050, 1054 (Pa. 1996)). "When communications tend to lower a person in the [**49] estimation
of the community, deter third persons from associating with him, or adversely affect his fitness
for the proper conduct of his lawful business or profession, they are deemed defamatory." ld.
(quoting Green v. Mizner, 692 A.2d 169, 172 (Pa. Super. Ct. 1997)). "lt is not enough that the
victim of the [statements] . . . be embarrassed or annoyed, he must have suffered the kind of
harm which has grievously fractured his standing in the community of respectable society."
Tucker v. Phila. Daily News, 577 Pa. 598, 848 A.2d 113, 124 (Pa. 2004) (quoting Scott-Taylor,
Inc. v. Stokes, 425 Pa. 426, 229 A.2d 733, 734 (Pa. 1967)). Only statements of fact, rather than
mere expressions of opinion, are actionable under Pennsylvania law. Moore v. Cobb-Nettleton,
2005 PA Super 426, 889 A.2d 1262, 1267 (Pa. Super. Ct. 2005) (citing Elia v. Erie lns. Exch.,
430 Pa. Super. 384, 634 A.2d 657, 660 (Pa. Super. Ct. 1993)). The statements alleged to be

defamatory must [**50] be viewed in context. Baker v. Lafayette Coll., 516 Pa. 291, 532 A.2d

23

Case 2:18-cV-O2O44-PD Document 61-1 Filed 10/09/18 Page 24 of 34

399, 402 (Pa. 1987). The Pennsylvania Supreme Court has explained that:” [W]ords which
standing alone may reasonably be understood as defamatory may be so explained or qualified by
their context as to make such an interpretation unreasonable Thus, we must consider the full
context the impression it would naturally engender, in the minds of the average persons
among whom it is intended to circulate.”

Thomas Merton Ctr. v. Rockwell Int'l Corp., 497 Pa. 460, 442 A.2d 213, 216 (Pa. 1981).

3. ROE’S STATEMENTS ARE CAPABLE OF DEFAMATORY
MEANING

Whether the statements at issue are capable of defamatory meaning is a question of law
to be decided by the Court. Blackwell v. Eskin, 2007 PA Super 20, 916 A.2d 1123, 1125 (Pa.
Super. Ct. 2007) (citing Tucker, 848 A.2d at 124). ln making this legal determination, the Court
must view the statement in the factual context in which it was made. See Baker, 532 A.2d at
402; Agency Servs., Inc. v. Reiter, 513 F. Supp. 586, 587-88 (E.D. Pa. 1981) (in assessing
whether statements are capable of defamatory meaning "a court must weigh both the language of
the communication, and the context in which the communication is made") (citing Pierce v.
Capital Cities Comm’ns, Inc., 576 F.2d 495, 502 (3d Cir. 1978)). The touchstone in determining
whether a statement is capable of defamatory meaning is how the statement would be interpreted
by the [**55] average person to whom it was directed. See Marier v. Lance, Inc., No. 07-4284,
2009 U.S. App. LEXlS 2713, 2009 WL 297713, at *3 (3d Cir. Feb. 9, 2009) ("ln analyzing
whether or not a statement is defamatory, Pennsylvania courts have held that "[t]he nature of the
audience seeing or hearing the remarks is . . . a critical factor in determining whether the
communication is capable of a defamatory meaning.") (lntemal citation omitted). Statements
“imputing a criminal ojfense, a loathsome disease, business misconduct, or serious sexual

misconduct “are recognized as slander per se and therefore as a matter of law capable of

24

Case 2:18-cV-O2O44-PD Document 61-1 Filed 10/09/18 Page 25 of 34

defamatory meaning. Chicarella v. Passant, 343 Pa. Super. 330, 494 A.2d 1109, 1115 n.5 (Pa.
Super. Ct. 1985) (citing Restatcment (Second) of Torts § 570 (1977)). Here, Roe’s report to Bean
and Perry resulted in Perry opening up in an investigation for violation of the sexual misconduct
policy and charges against Doe for sexual assault, lt seems reasonably clear that Perry and Bean
understood the statements of Roe as either sexual assault or assault both of which clearly
implicate a criminal offense. "A publication is defamatory if it tends to blacken a person's
reputation or expose him to public hatred, contempt or ridicule or injure him in his business or
profession." ld. at *25 (quoting Dunlap v. Phila. Newspapers, lnc., 301 Pa. Super. 475, 448 A.2d
6, 10 (Pa. Super. 1982)) (citation and internal quotation marks omitted). "In order to be
actionable, the words must be untrue, unjustifiable, and injurious to the reputation of another."
Id. at *25 (quoting Joseph v. Scranton Times L.P., 2008 PA Super 217, 959 A.2d 322, 334 (Pa.
Super. 2008)). The standard of injurious to Doe’s reputation is easily met with the Serious
charges as leveled by Roe.
4. ROE’S STATEMENTS WERE OF AND CONCERNED DOE

Under Pennsylvania's defamation statute, a plaintiff must demonstrate that the
complained-of statement applies to him, i.e., whether it is "of and concerning" him. See 42 Pa.
C.S. §8343(a) (3), (5). ln determining whether Plaintiff has satisfied this burden, the test to be
applied is whether the "defamatory communication may reasonably be understood as referring to
the plaintiff." Zerpol Corp. v. DMP Corp., 561 F. Supp. 404, 410 (E.D. Pa. 1983) (citing Farrell
v. Triangle Publ'ns, Inc., 399 Pa. 102, 159 A.2d 734 (Pa. 1960)). [**57] "lt is not enough that
plaintiff understands the communication to be about him." Id. lt is true, however, that under
Pennsylvania law, "a defamed party need not be specifically named in a defamatory statement in

order to recover, if she is pointed to by description or circumstances tending to identify her."

25

Case 2:18-cV-O2O44-PD Document 61-1 Filed 10/09/18 Page 26 of 34

Weinstein v. Bullick, 827 F. Supp. 1193, 1199 (E.D. Pa. 1993) (citing Redco Corp. v. CBS, Inc.,
758 F.2d 970, 972 (3d Cir. 1985)); Cosgrove Studio & [*480] Camera Shop, Inc. v. Pane, 408
Pa. 314, 182 A.2d 751, 753 (Pa. 1962)). At the summary judgment stage, in a case where the
plaintiff is not identified by name, the court must find that a recipient could reasonably conclude
that the publication refers to the plaintiff Weinstein, 827 F. Supp. at 1199 (citing Farrell, 159
A.2d at 739, but here it is undisputed that Roe named Doe to Bean and Perry (Dep of Bean P )
as her friends all of whom were SJU undergraduate students living on campus like Doe.

5. DOE HAS SUFFERED HARM AS A RESULT OF ROE’S FALSE
AND DEFAMATORY STATEMENTS

The term "special harm" is defined as "actual damages which are economic or pecuniary
losses." Klimaski v. Parexel Intern., 2008 U.S. Dist. LEXlS 47125, 2008 WL 2405006, *3 (E.D.
Pa. 2008) (citing Sprague v. Am. Bar Ass'n, 276 F. Supp.2d 365, 368-69 (E.D. Pa. 2003)). First,
there is evidence of special damages, plaintiff has already incurred expenses both in connection
with the class trip to lreland which had to be paid for in advance and for which the school has not
fully reimbursed him, for the expected loss of his scholarship and for treatment with his
therapist. Second, "plaintiff may succeed in a claim for defamation absent proof of special harm
where the spoken words constitute slander per se." ld. There are [*27] four categories of words
that constitute slander per se: words that impute (1) criminal offense; (2) loathsome disease; (3)
business misconduct; or (4) serious sexual misconduct. Id. Here, applying this standard,
plaintiffs allegation that "each [defendant] referred to Doe as the perpetrator of a sexual assault
on Roe, even though they knew the allegations were false, or with reckless indifference to the
truth or falsity of said allegations," see Am. Compl. would be considered slander per se. ln
Harris I, SJU argued that the plaintiff had not suffered “special harm” as a result of the

defamation Judge Restrepo dismissed this argument on the grounds that statements claiming that

26

Case 2:18-cV-O2O44-PD Document 61-1 Filed 10/09/18 Page 27 of 34

an individual had committed sexual assault are slander per se. ld. at *27. Harris v. St. Joseph's
Univ., 2014 U.S. Dist. LEXlS 65452, *24, 2014 WL 1910242 (E.D. Pa. 2014) (“Harris I”); 42
Pa. C.S. §8343(a).

"ln Pennsylvania, a defendant who publishes a statement which can be considered slander
per se is liable for the proven, actual harm that the publication causes." Klimaski, 2008 U.S.
Dist. LEXlS 47125, 2008 WL 2405006, at *4. Actual damages are divided into two types:
general and special. ld. General damages typically flow from defamation, such as "impairment
of reputation and standing in the community, personal humiliation, and mental anguish and
suffering." ld. (citing Sprague, 276 F. Supp.2d at 368). Plaintiffs Amended Complaint includes
averments of these types of damages caused by defendants' defamatory communications See,
e.g., Pl.'s Am. Compl. 1111 128-29. Thus, in Agriss, Pennsylvania's Superior Court [*28] found
that the trial court erred in granting non-suit where the Superior Court found evidence was
sufficient to show that the alleged defamatory remarks could have "impaired appellant's
reputation and caused him personal humiliation and mental anguish" and that testimony "tended
to show that the charge held appellant up to ridicule and speculation among fellow employees
that his dismissal was imminent." Agriss, 483 A.2d at 467. University Defendants' motion to
dismiss is denied to the extent that it argues that the claim of defamation should be dismissed as
failing to allege "special harm."

Where a plaintiff asserts a claim for defamation per se, "only general damages, i.e., proof
that one's reputation was actually affected by defamation or that one suffered personal
humiliation, or both, must be proven; special damages, i.e., out-of-pocket expenses borne by the
plaintiff due to the defamation, need not be proven." Joseph, 959 A.2d at 344 (citing Brinich v.

Jencka, 2000 PA super 209, 757 A.2d 388, 397 (Pa. super Ct. 2000)). [**109] Pennsylvania

27

Case 2:18-cV-O2O44-PD Document 61-1 Filed 10/09/18 Page 28 of 34

recognizes that a defamation claim involving an individual's trade or profession falls into this per
se category. See Walker v. Grand Cent. Sanitation, Inc., 430 Pa. Super. 236, 634 A.2d 237, 241
(Pa. Super. Ct. 1993). Mzamane v. Win]$’ey, 693 F. Supp. 2d 442, 2010 U.S. Dist. LEXlS 23491
(Plaintiff assertion that she suffered personal humiliation and distress as a result of being
wrongly associated with the misconduct at OWLAG including testimony concerning damage to
her reputation and the attendant emotional harm sufficient to prove the required general
damages). See also Marcone, 754 F.2d at 1080 (plaintiffs testimony that he was "frustrated,
distraught, upset, and distressed" due to defamatory publication was sufficient to prove actual
damages under Pennsylvania law); Joseph, 959 A.2d at 345 (plaintiffs testimony concerning
humiliation and emotional stress resulting from defamatory statements can satisfy the
requirement of compensable damages); Wilson v. Benjamin, 332 Pa. Super. 211, 481 A.2d 328,
333 (Pa. Super. Ct. 1984) (same). The facts supporting both special and general damages were
based upon personal knowledge and are set forth in the verified complaint:
6. AT ISSUE IS THE FALSEHOOD OF ROE’S STATEMENTS
Roe argues that Doe has never denied the allegation that he squeezed her neck or “tried to
choke her” but this simply false.
Malloy testified:
Doe testified:
Doe’s verified Complaint (Exhibit 1) specifically provides:
108. Plaintiff states unequivocally that: Roe’s statement that Doe

flirted with other girls on the car ride back to SJU is false; Roe’s

statement that Doe sat on top of her is false; and Roe’s

statement that Doe squeezed her neck is false.

109. Doe never, at any time squeezed Roe’s neck and vehemently
denies Roe’s statement to the contrary.

28

Case 2:18-cV-O2O44-PD Document 61-1 Filed 10/09/18 Page 29 of 34

While a nonmoving party may not rely on mere allegations in a complaint to create a
genuine factual dispute at the summary-judgment stage, where, as here, the complaint is verified,
the court treats specific, factual allegations in the complaint that are based on personal
knowledge as if they were made in an affidavit or declaration See Parkell v. Danberg, 833 F.3d
313, 320 n.2 (3d Cir. 2016) ("Because [statements in verified complaint and other court filings]
were signed under penalty of perjury in accordance with 28 U.S.C. § 1746, we consider them as
equivalent to statements in an affidavit."); Reese v. Sparks, 760 F.2d 64, 67 (3d Cir. 1985)
(treating verified complaint as an affidavit in opposition to a motion for summary judgment);
Boomer v. Lewis, No. 3:06-CV-0850, 2009 U.S. Dist. LEXlS 82679, 2009 WL 2900778, at *14
(M.D. Pa. Sept. 9, 2009) ("A verified complaint may be treated as an affidavit in support of or in
opposition to a motion for summary judgment if the allegations are specific and based on
personal knowledge."), affd, Boomer v. Lewis, 541 F. App'x 186, 193 (3d Cir. 2013).

For purposes of this motion, the deposition testimony cited above and averments in the
verified complaint alone create material issues of fact as to Roe’s truth defense. ln addition,
however, the record evidence developed in discovery now overwhelming refutes Roe’s asserted
“truth defense”. lnformation revealed at the second half of Roe’s deposition on September 7,
2018 revealed the following:

- Undated Photographs of Roe and her roommate, Rl.R2,R3, produced by Roe the
night before her first deposition, that Roe referred (R1-3) as “before” photos, were not all
“before” photos, three were actually taken the night after( roughly 20 hours) Doe allegedly
choked Roe and 36 hours before the photos of Roe ’s neck were taken at the direction of Perry
(Rl) clearly depict Roe’s neck and shows no bruising, redness, swelling or other signs of

trauma;

29

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 30 of 34

- On late Saturday evening or early Sunday moming, less than four hours or so
after those exculpatory pictures were taken - twenty to twenty-four hours after Doe allegedly
choked Roe - Roe, inebriated, “slipped” down stairs at a Sigma Pi party, injuring herself to the
point where she sought medical treatment from an Urgent Care facility on Tuesday, February 27,
2018;

- RS was with Roe at the Sigma Pi party at which those injuries were sustained;

RS and Roe had an admitted history of violence that included Roe choking RS
the previous fall, RS pushing Roe down a flight of steps, and RS locking herself in the bathroom
at Lankenau Hospital the night following Doe’s alleged assault because she was scared of Roe.
RS also happens to be the same individual who first noticed bruises on Roe’s neck on Sunday,
February 25th, ten to twelve hours or so after Roe was injured at Sigma Pi;

- On Monday, February 26th, at the urging of SJU employees Dr. Mary-Elaine
Perry and Katie Bean, Roe and her friends took photos of the bruises on Roe’s neck for use in the
Title lX investigation into Doe. RS took at least one of those photos;

- The digital versions of those February 26th photos clearly show a thin line of
bruises around the sides and toward the back of Roe’s neck - inconsistent with choking and
inconsistent with Roe’s previous testimony about Doe’s alleged assault.

Plaintiff has produced the expert reports of Robert Sing. Exhibit 22.

7. ROE IS NOT ENTITLED TO A CLAIM OF AN ABSOLUTE
PRIVILEGE

Defendant contends that statements made regarding the alleged sexual assault "are

absolutely privileged and cannot be the basis for a claim of defamation However, as the Third

Circuit has pointed out, "under Pennsylvania law government involvement is . . . a necessary

30

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 31 of 34

condition for according quasi-judicial status to grievance procedures." Overall v. Univ. of Pa.,
412 F.3d 492, 497 (3d Cir. 2005) (emph. added) "Pennsylvania cases finding quasi-judicial
privilege consistently involve proceedings before federal, state, or local governmental bodies, or
proceedings held pursuant to a statute or administrative regulation" ld. (emph. added). ln that
this case involves an entirely private grievance procedure, the privilege available in Pennsylvania
for communications made during quasi-judicial proceedings does not apply. Defendants' motions
to dismiss are denied with regard to plaintiffs defamation claims. This same argument was raised
by SJU in Harris v. St. Joseph's Univ., 2014 U.S. Dist. LEXlS 65452, 2014 WL 1910242 in

nearly identical circumstances.

C. THE FACTS SUPPORT A CLAIM OF IMPROPER INTERFERENCE
WITH CONTRACTUAL RELATIONS AGAINST ROE

ln Adler Barish, supra, the Pennsylvania Supreme Court acknowledged a well-established
cause of action for intentional, improper interference [*383] with existing contractual relations.
393 A.2d at 1181-82 (citing Restatcment (First) of Torts §766 and Birl v. Philadelphia Elec. Co.,
402 Pa. 297, 167 A.2d 472 (Pa. 1960)). See also Thompson Coal Co. v. Pike Coal Co., 488 Pa.
198, 412 A.2d 466 (Pa. 1979) (considering First Restatement §766 in analyzing claim of tortuous
interference with prospective contractual relations); Glenn v. Point Park College, 441 Pa. 474,
272 A.2d 895 (Pa. 1971) (same). "'[T]he common law has recognized an action in tort for an
intentional, unprivileged interference with contractual relations. lt is generally recognized that
one has the right to pursue his business relations or employment free from interference on the
part of other persons except where such interference [***18] is justified or constitutes an
exercise of an absolute righ .'" Adler Barish, 393 A.2d at 1182 (quoting from Birl, 167 A.2d at
474). The Court explained that "[s]ince Birl, we have repeatedly looked to the Restatcment as

authority for the elements of a cause of action for intentional interference with existing contract

31

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 32 of 34

relations." Id. at 1182 n.13. The Court further recognized that it "constantly seeks to harmonize
common law rules, principles, and doctrines with modern perceptions of societal needs and
responsibilities," and since the American Law Institute, which publishes the Restatcments,
makes a "continuing effort to provide the judicial system orderly and accurate restatements of the
common law," it is "appropriate to analyze this case in light of the approach fashioned by
Restatcment (Second)." Id. at 1183. The Adler Barish Court proceeded to quote then-Tentative
Draft No. 23 of the Restatement (Second) of Torts §766, which provided that "[o]ne who
intentionally and improperly interferes with the performance of a contract" is subject to liability
for pecuniary loss resulting from a failure to perform the contract. Ours is a free society where
citizens may freely interact and exchange information Tortuous interference, as a basis for civil
liability, does not operate to burden such interactions, but rather, to attach a reasonable
consequence only when the defendant's intentional interference was "improper." ln Adler
Barish, the Court looked to Section 767:
ln determining whether an actor's conduct in intentionally interfering with an existing

contract or a prospective contractual relation of another is improper or not, consideration is given
[***20] to the following factors:

(a) the nature of the actor's conduct,

(b) the actor's motive,

(c) the interests of the other with which the actor's conduct interferes,

(d) the interests sought to be advanced by the actor,

(e) the social interests in protecting the freedom of action of the actor and

the contractual interests of the other,
(f) the proximity or remoteness of the actor's conduct to the interference,
and
(g) the relations between the parties.

ln assessing whether a defendant's conduct is proper, "consideration is given to the

following factors: (a) the nature of the actor's conduct, (b) the actor's motive, (c) the interests of

32

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 33 of 34

the other with which the actor's conduct interferes, (d) the interests sought to be advanced by the
actor, (e) the proximity or remoteness of the actor's conduct to the interference, and (f) the
relations between the parties." Adler Barish, 393 A.2d at 1184.

§774A Damages

(1) One who is liable to another for interference with a contract or prospective
contractual relation is liable for damages for

(a) the pecuniary loss of the benefits of the contract or the prospective
relation;

(b) consequential losses for which the interference is a legal cause; and

(c) emotional distress or actual harm to reputation, if they are reasonably to be
expected to result from the interference . . . .

This is consistent with Yaindl v. Ingersoll-Rand Co., 422 A.2d 611 (Pa.Super. 1980), the
court held that the element of intent to cause harm required only the "intention to interfere with
the plaintiffs prospective contractual relation, and not malevolent spite by the defendant." 422
A.2d at 622, n.11. Accord, Geyer v. Steinbronn, 506 A.2d 901, 910 (Pa.Super. 1986). Doe’s
claim is that the alleged interference harmed his reputation, the gravamen [*436] of this tort is
the lost pecuniary benefits flowing from the contract itself; other losses, such as emotional
distress and loss of reputation, [***19] are consequential harms. See Restatement (Second) of
Torts, [**1344] §766, Comment t. The definition of "inducement" is taken from Restatcment of
Torts §766, comment d (1939); accord, Restatcment (Second) of Torts §766, comment g (Tent.

Draft No. 14, 1969).

WHERE-FORE, Plaintiff respectfully requests this Honorable Court to deny Defendant
Roe’s Motion for Summary Judgment
Respcctfully submitted,

Dated: October 9. 2018 BY: /s/John Mirabella
John Mirabella, Esquire
iohn@mirabellalawfirm.com
Law Offices of John Mirabella

33

Case 2:18-cV-02044-PD Document 61-1 Filed 10/09/18 Page 34 of 34

1600 Market Street, Suite 1810
Philadelphia, PA 1 9103
(215) 422-4991

34

